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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE
 8   _______________________________________
                                            )
 9   UNITED STATES OF AMERICA,              )
                                            )              No. CR06-0041RSL
10                         Plaintiff,       )
                v.                          )
11                                          )              ORDER DENYING AS MOOT
     RICKY JENKS,                           )              DEFENDANT JENKS’ MOTION FOR
12                                          )              JUDGMENT OF ACQUITTAL
                           Defendant.       )
13   _______________________________________)
14         This matter comes before the Court on “Defendant Jenks’ Motion for Judgment of
15   Acquittal” (Dkt. #782). In light of defendant Jenks’ plea agreement and the pending sentencing
16   hearing set for December 20, 2007 (Dkt. ##854, 855), it is hereby ORDERED that defendant
17   Jenks’ motion (Dkt. #782) is DENIED AS MOOT.
18
           DATED this 27th day of November, 2007.
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                                             Robert S. Lasnik
22                                           United States District Judge
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     ORDER DENYING AS MOOT DEFENDANT
     JENKS’ MOTION FOR JUDGMENT OF ACQUITTAL
